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IN UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION AT CINCINNATI

UNITED STATES OF AMERICA )
)
vs ) Case No. 1:05CR113-007
John Wayne Jones )
)

ORDER TERMINATING SUPERVISED RELEASE

The above named defendant commenced a 5 year term of supervised release on November 28.
2014. Based on the recommendation of the United States Probation Officer and for good cause
shown it is hereby ordered that the defendant is discharged from Supervised Release and the

proceedings in this case be terminated.

Hh
Dated thishS_ day of peat: 2017.

_dsanh Mp

The Honorable Xysan J. Dlott
United States Judge

